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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA, j
Plaintiff, )
)

v. ) Criminal No. 19-10078-RWZ
)
WILLIAM “RICK” SINGER, )
Defendant. )

FINAL ORDER OF es
Cas Amended 4 | > :
ZOBEL, S.D.J. l | oH ) GY

WHEREAS, on September 12, 2019, this Court issued a Preliminary Order of Forfeiture
(Docket No. 43) against the following property, pursuant to 18 U.S.C. §§ 1963, 982(a)(1), and
Rule 32.2(b)(2) of the Federal Rules of Criminal Procedure:

a. All funds on deposit in Bank of America checking account in the name of the Key
Worldwide Foundation ending in x0486;

b. All funds on deposit in Wells Fargo checking account in the name of the Key
Worldwide Foundation ending in x2391;

c. All assets owned or controlled by the Key Worldwide Foundation, including, but
not limited to:

i. KWF's investment in Jamtown;

ii. | KWF's investment in Bluestone Partnership;

iii, | KWF's investment in Hauser Private Equity;

iv. KWF's investment in WhamTech, Inc.;

v. KWF's investment in Sharky's Restaurant Chain - 10% control purchase and

related investment;

vi. KWF's investment in Swansea Football Club;
vii, | KWF's investment in Virtual PhD?; and

d. $3,429,970.87, to be entered in the form of a forfeiture money judgment?
(assets (a)-(c), collectively, the “Properties”); FN 4 NOC

' This asset is also referred to as Bluesky Partnership.
2 This asset is also known as The Versatile Phd.
3 The government will separately file a Motion for an Order of Forfeiture (Money Judgment).

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WHEREAS, notice of the Preliminary Order of Forfeiture was sent to all interested
parties and published on the government website www.forfeiture.gov for thirty (30)
consecutive calendar days, beginning on October 1, 2019 and ending on October 30, 2019; and

WHEREAS, no claims of interest in the Properties have been filed with the Court or served
on the United States Attorney’s Office, and the time within which to do so has expired.

ACCORDINGLY, it is hereby ORDERED, ADJUDGED, AND DECREED that:

l. The United States’ Motion for a Final Order of Forfeiture is allowed.

2. The United States of America is now entitled to the forfeiture of all right, title or
interest in the Properties, and are hereby forfeited to the United States of America pursuant to 18
U.S.C. §§ 1963, 982(a)(1), and Rule 32.2(c) of the Federal Rules of Criminal Procedure.

3. All other parties having any right, title or interest in the Properties are hereby held
in default.

4, The United States is hereby authorized to dispose of the Properties in accordance
with applicable law.

5. This Court shall retain jurisdiction in the case for the purpose of enforcing this

Order.

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RYA WjAZOBEL
Senior United States District Judge

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